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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 UNITED STATES OF AMERICA and                     )
 KILOLO KIJAKAZI, COMMISSIONER OF                 )
 the SOCIAL SECURITY                              )
 ADMINISTRATION,                                  )
                                                  )
                               Petitioners,       )
                                                       No. 23 C 15450
                                                  )
                       v.                         )
                                                  )
 OFELIA IONESCU,                                  )
                                                  )
                               Respondent.        )

                     PETITION FOR SUMMARY ENFORCEMENT
                   OF ADMINISTRATIVE SUBOENA DUCES TECUM

       The United States of America and the Commissioner of the Social Security Administration,

by their attorney, Morris Pasqual., Acting United States Attorney for the Northern District of

Illinois, petition this court for an order enforcing a subpoena issued by a Social Security

Administration Administrative Law Judge (ALJ) to respondent, Ofelia Ionescu, M.D., pursuant to

42 U.S.C. § 405(d).

       1.      This petition has been brought under 42 U.S.C. § 405(e) to enforce the ALJ

subpoena.

       2.      Dr. Ionescu provided medical care to Keaira Lowe. Ionescu’s address is 1026 W.

Lawrence Ave., Chicago, Illinois 60640, which is within the jurisdiction of this court.

       3.      The court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because this

matter arises under the Social Security Act of 1935, 42 U.S.C. § 405.
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       4.      The Act authorizes the Commissioner of Social Security the power to issue

subpoenas requiring the production of evidence that relates to matters under investigation or in

question. 42 U.S.C. § 405(d).

       5.      In the event of a failure to obey a duly served subpoena, an action may be brought

in the appropriate federal district court to enforce the subpoena. 42 U.S.C. § 405(e).

       6.      A Social Security Administration ALJ issued a subpoena on November 7, 2022, to

Dr. Ionescu. Attached as Exhibit 1.

       7.      The subpoena seeks all records from Dr. Ionescu pertaining to Keaira Lowe’s

treatment record.

       8.      Keaira Lowe, a pro se claimant protectively filed an application for Supplemental

Security Income benefits on August 16, 2020, alleging disability beginning on January 1, 2018.

       9.      The State agency Disability Determinations Services (DDS) denied the claim on

initial review and reconsideration, and the claimant timely filed a request for hearing on February

9, 2022. Lowe informed the SSA that she received treatment from Dr. Ionescu from March 2018

to August 2019.

       10.     The DDS was unsuccessful in securing any records from Dr. Ionescu through its

request and authorization from Lowe.

       11.     After the ALJ conducted a hearing in which testimony was obtained from the

claimant and her mother, the Hearing Office again attempted to obtain records from Dr. Ionescu

through a request issued by the DDS. This was again unsuccessful, and as a result, the ALJ issued

a subpoena to Dr. Ionescu to provide all of the claimant’s treatment records.

       12.     Production of the records or documents were due no later than December 7,

2022. However, Dr. Ionescu failed to produce any of the records as directed by the subpoena.
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          13.   SSA Legal Specialist, Noemi Quinones, called Dr. Ionescu’s office twice in March

2023, both times she left detailed voice messages regarding the subpoena to obtain Lowe’s

treatment records from Dr. Ionescu. Dr. Ionescu did not respond to either voice message or provide

the requested documents. Declaration attached as Exhibit 2.

          14.   Administrative Law Judge Kevin Vodak then sent Dr. Ionescu a letter on April 14,

2023, enclosing another copy of the subpoena and authorization and requiring the treatment

records to be provided by Friday, April 28, 2023. Attached as Exhibit 3. Dr. Ionescu did not

respond or provide the requested documents.

          15.   After receiving no records in response to the subpoena or its communications to

Dr. Ionescu, the SSA referred this matter to the United States Attorney’s Office. Upon receiving

this matter, and prior to filing this petition, the undersigned counsel also attempted to retrieve the

requested treatment records from Dr. Ionescu. During a phone call between the undersigned

counsel and Dr. Ionescu in July 2023, Dr. Ionescu agreed to provide the treatment records to SSA.

Weeks went by, however, and the records were never provided. As a result, counsel sent Dr.

Ionescu a letter requiring the treatment records to be produced by September 29, 2023. Attached

as Exhibit 4. Dr. Ionescu did not produce the treatment records, nor did she contact the U.S.

Attorney’s Office as instructed. Dr. Ionescu’s failure to provide the treatment records continues

to the date of this petition.

          16.   Dr. Ionescu’s failure to comply with the subpoena has prevented the SSA from

being able to complete its investigation into Lowe’s application for Supplemental Security Income.

          17.   All required administrative steps for the issuance of these summonses have been

taken.
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 WHEREFORE, petitioners request this court to:

    a. Enter an order for the respondent Ofelia Ionescu, M.D., to show cause why the

        respondent cannot comply with and obey the summonses (a draft order with

        suggested dates is submitted with this motion);

    b. Order that the United States recover its costs incurred in maintaining this

        proceeding; and

    c. Grant such other and further relief as the court deems proper or as justice may

        require.


                                      Respectfully submitted,

                                      MORRIS PASQUAL
                                      Acting United States Attorney

                                      By: s/ Eric Allison
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                                         Assistant United States Attorney
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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA and                    )
 KILOLO KIJAKAZI, ACTING                         )
 COMMISSIONER of the SOCIAL                      )
 SECURITY ADMINISTRATION,                        )
                                                 )
                               Petitioners,      )
                                                      No.
                                                 )
                       v.                        )
                                                 )
 OFELIA IONESCU,                                 )
                                                 )
                               Respondent.       )

                            DECLARATION OF NOEMI QUINONES

       Noemi Quinones, for her declaration pursuant to 28 U.S.C. § 1746, states as follows:

I am employed by Social Security Administration (SSA) as a Legal Specialist, Office of Hearing

Operations, Evanston Hearing Office, in Evanston, Illinois.

       1.      My duties as a Legal Specialist involve case development and work up of a

claimant’s medical record associated with their request for benefits. This occasionally involves

mailing out subpoenas issued by an Administrative Law Judge (ALJ) when a medical provider has

not complied with prior requests and authorizations and then contacting the subpoena recipients to

secure their compliance. I have been in this position for nine months, prior to that, I was also

responsible for these tasks as a Legal Assistant for five years. I have been employed with SSA for

approximately 20 years.

       2.      SSA has been attempting to retrieve Dr. Ofelia Ionescu’s treatment records since

2022. When Dr. Ionescu did not send her records, an SSA ALJ issued a subpoena to Dr. Ionescu




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to provide all of Keaira Lowe’s treatment records no later than December 7, 2022. Dr. Ionescu

did not provide any records.

       3.      In March 2023, I attempted to contact Dr. Ionescu in connection with our efforts to

subpoena Keaira Lowe’s treatment records that are in Dr. Ionescu’s possession.

       4.      On March 1, 2023, I called Dr. Ionescu and left her a detailed voice message stating

we have been trying to get in touch with her regarding Keaira Lowe. I also stated that we have

submitted a subpoena and have not received a response yet either. At the end, I left my callback

information (office, name, number, extension) and asked that she call me back at her earliest

convenience; she did not. The voice message greeting stated Dr. Ionescu’s name.

       5.      On March 22, 2023, I again called Dr. Ionescu and left a detailed voice message

regarding Keira Lowe’s treatment records and asked that she call me back at her earliest

convenience; she did not.

       6.      I mailed a certified letter from the ALJ to Dr. Ionescu that allowed Dr. Ionescu until

April 28, 2023 to provide the requested records. A copy of the subpoena as well as Keira Lowe’s

authorization was enclosed with the letter. Dr. Ionescu was notified that if she did not send the

records by the deadline, we would seek enforcement assistance from the U.S. Attorney’s Office.

The certified mail return receipt was returned to our office on April 28, 2023, indicating the letter

was delivered on April 21, 2023, but the recipient did not sign on delivery.

   7. As of the date of this declaration, Dr. Ionescu never contacted me or provided the requested

documents.




                                                 2
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I declare under penalty of perjury that the foregoing is true and correct.




                               _______________________
                               Noemi Quinones
                               Legal Specialist




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                                           U.S. Department of Justice


                                           United States Attorney
                                           Northern District of Illinois
Eric D. Allison                            Dirksen Federal Courthouse                    Phone:312-353-7912
Assistant United States Attorney           219 South Dearborn Street, Fifth Floor      eric.allison@usdoj.gov
                                           Chicago, Illinois 60604



                                             September 12, 2023

Via U.S. mail

Ofelia M. Ionescu. MD
1026 W. Lawrence Ave
Chicago, IL 60640

           Re:        Keaira Lowe Medical Records

Dear Dr. Ionescu

        We are making another attempt to obtain medical records from your office. I spoke with
an assistant at your office on or about August 2, 2023, and was informed that the requested records
would be provided to Social Security. To date, Social Security has still not received the records.
You are required to furnish and deliver any/all records you have pertaining to the treatment of
Keaira Lowe, covering the period of January 1, 2018 to present. Please provide these records by
Friday, September 29, 2023. If the documents are not provided, we will request the U.S. District
Court of this district to require you to appear personally in court. The documents should be mailed
to:

           Office of Hearings Operations
           1033 University PL
           Ste 200
           Evanston, IL 60201

         Based on the difficulties we have had contacting your office by telephone, please send
me an email confirming your intent to comply with this letter and any questions at
eric.allison@usdoj.gov. Thank you.

                                                        s/ Eric Allison
                                                        ERIC ALLISON
                                                        Assistant United States Attorney
